       Case 2:12-cr-00007-JPJ-PMS Document 9 Filed 06/25/12 Page 1 of 6 Pageid#: 35
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 AO 2458 (Rev.9/l1-VAW Additi
                            ons6/05)JudgmentinaCriminalCase             . Ay AajNoooN VA                                                      y
              Sheet1                                                                                                                 gjj-sn

                                        UNITED STATES DISTRICT COURT                                                          JUN 252912
                                                    W esternDistrictofVirginia                                          J:
                                                                                                                         DZ '
                                                                                                                                 E
         UNITED STATES OFAM ERICA                                           JUDGM ENT IN A CRIM INAL CASE
                             V'                                             CaseNumber: DVAW 212CR000007-00l
         ANTON IO CARL JOHN SON                                             Case N um ber:
                                                                            U SM N um ber: 35987-007
                                                                            Nancy C.Dickenson,AFPD,Kimberly C.Stevens
                                                                            Defendant'sAttorney
THE DEFENDANT'
             .
K pleadedguiltytocountts) One(1)
Z pleadednolocontenderetocountts)
  w hichwasaccepted bythecourt.
Z wasfoundguiltyoncountts)
   afterapleaofnotguilty,

Thedefendantisadjudicatedguiltyoftheseoffenses:
 Title& Section                  NatureofO ffense                                                             O ffenseEnded               Count
18U.S.C.j1111(a) FirstDegreeMtlrder                                                                               1/21/2010                 1




        Thedefendantissentencedasprovidedinpages2through                        6         ofthisjudgment.Thesentenceisimposedpursuantto
the Sentencing Reform Actof 1984.
EEIThedefendanthasbeenfoundnotguiltyoncountts)
(Z1Counks)                                   EEIis IZ aredismissedonthemotionoftheUnitedStates.
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thedefenzantmustnotify thecburtandUnltedSiatesa-
                                               ttorney ofmaterialch*
                                                                   anges1n-econom-
                                                                               - /ccircumstances.
                                                                            June25,2012
                                                                            DateofImpositionofJudgment


                                                                            Signature J dge



                                                                            JamesP.Jones,United StatesDistrictJudge
                                                                            NameandTitleofJudge

                                                                                    $ 2F 'V
                                                                            DRte      E
          Case 2:12-cr-00007-JPJ-PMS Document 9 Filed 06/25/12 Page 2 of 6 Pageid#: 36
AO 2458     (Rev.9/11-VAW Addi
                             ti
                              ons6/05)JudgmentinCriminalCase
            Sheet2 -Im prisomnent
                                                                                                Judgment-Page   2   of   6
 DEFEN DA N T;     ANTON IO CARL JOHN SON
 CA SE N U M BER :DVAW 212CR000007.001


                                                          IM PR ISO N M E NT

        Thedefendantishereby com m itted to the custody ofthe United StatesBureau ofPrisonsto be im prisoned fora
 totalterm of:
   Life,Thisterm ofimprisonmentimposedbythisjudgmentshallnm consecutivelywiththedefendant'simprisonmentunderany
   previousstate orfederalsentence.



   Z ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:




   X ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
   r-I ThedefendantshallsurrendertotheUnited StatesM arshalforthisdistrict:
       r-1 at                                   Q              I
                                                               '-I p.m .
       r-l asnotifiedbytheUnitedStatesM arshal.

   r-I Thedefendantshallsurrenderforsel
                                      wiceofsentenceattheinstitutiondesignatedbytheBureauofPrisons:
          !-1 before           on
          F'
           R asnotifiedbytheUnitedStatesM arshal.
          I-I asnotified bytheProbation orPretrialServicesOffice,


                                                                  R ETU R N
 Ihaveexecutedthisjudgmentasfollows:




          Defendantdelivered on                                                 ..   to

 a                                                  ,withacertitiedcopyofthisjudgment.


                                                                                             UNITED STATESMARSHAL

                                                                           By
                                                                                          DEPUTY UNITED STATESMARSHAL
         Case 2:12-cr-00007-JPJ-PMS Document 9 Filed 06/25/12 Page 3 of 6 Pageid#: 37

AO 2458     (Rev.9/l1-VAW Additions6/05)JudgmentinaCriminalCase
            Sheet3- Supervfsed Relcase
                                                                                                Judgment- page       3   of     6
DEFENDANT:    ANTONIO CARL JOHNSON
CASE NUM BER:DVAW 2l2CR000O07-001
                                                   SUPERVISED RELEASE
Upon releasefrom imprisonm ent,the defendantshallbeon supervised release fora term of:
 Five(5)yearsintheevent thedefendantisreleasedfrom imprisonment.
        Thedefendantmustreportto the probation office in the districtto whichthe defendantisreleased w ithin 72 hoursofreleasefrom the
custody oftheBureau ofPrisons.
Thedefendantshallnotcom mitanotherfederal,stateorlocalcrime.
Thedefendantshallnotunlawfullyppssessacontrolledspbjtance.Thedefendantshallreflainfrom mzyunlawfuluseofaqontrolled
substance.Thedefepdantshallsubm lttoonedrugtestwlthln 15daysofreleasefrom imprlsonm entandatleasttwo penodlcdrugtests
thereaher,as determlned by thecourt.
     The above drug testing condition issuspended,based on thecourt'sdetermination thatthe defendantposesa low risk of
     futuresubstanceabuse.(Check,fappli  cable.
                                              )
 K     Thedefendantshallnotpossessafirearm,ammunition,destructivedevice,orany otherdangerousweapon.(Check,fapplicable.
                                                                                                                     )
 K     ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobationofficer. (Check.I
                                                                                              fapplicable.
                                                                                                         )
 U1 ThedefendantshallcomplywiththerequirementsoftheSex OffenderRegistrationandNotification Act(42IJ.S.C.j 16901,qtseq.4
                                                                                                                 .
       asdirectedbytheprobatlonoffiger,theBureapofPrisons,oranystatesexoffenderregistrationagency inwhlch heorsheresldes,
       works,isastudent,orwasconvlcted ofaquallfyingoffense. (Check,fapplicable.
                                                                               )
       Thedefendantshallparticipatein anapprovedprogram fordomesticviolence.(check,fapplicable.)
         lfthisjudgmentimposeëatineorrestitution,itisaconditionofsupelwisedreleasethatthedefendantpayînaccordancewiththe
 ScheduleofPaymentssheetofthlsjudgment.
         Thedefendantm ustcomplyw ith the standard conditionsthathave been adopted by thiscourtaswellasw ith any additionalconditions
on the attached page.
                                         STANDARD C ONDITIO NS OF SUPERV ISION
     1) thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer;
     2) thedefendantshallreporttotheprobation officerinamannerandfrequencydirected by thecourtorprobationofficer;
     3) thedefendantshallanswertruthfully al1inquiriesby theprobationofficerand follow theinstructionsoftheprobationofficer;
          the defendantshallsupporthisorherdependentsand m eetotherfamily responsibilities',
          thedefendantshallw ork regularly ata lawfuloccupation,unlessexcused by theprobation ofticerforschooling,training,orother
          acceptable reasons;
          thedefendantshallnotifytheprobationofficeratleastten dayspriorto any changein residenceorem ploym ent' ,
          thedefendantshallrefrainfrom excessiyeuseofalcoholandshallnotpurchase,possess,use,djstribute,oradpinisterany
          controlledsubstanceorany paraphernallarelatedto any controlledsubstances,exceptasprescrlbedbyaphyslcian;
          thedefendantshallnotfrequentplaceswhere controlled substancesare illegally sold,used,distributed,oradministered;
          thedefendantshallnotassoçiatewith anypersonsengaged incrim inalactivityandshallnotassociatewithany personconvictedofa
          felony,unlessgrantedperm lssion to do so'
                                                  bytheprobaflonofficer;
  10) thedefendantshallpepzitrprqbationofticertoyisithim orheratany timeathomeorelsewhereand shallpermitconfiscationofany
          contraband observed ln plaln vlew ofthe probatlon officer;
          thedefendantshallnotify the probation ofticerwithin seventy-two hoursofbeing arrestedorquestioned by a law enforcementofficer;
          thedsfepdantshallnotenterintoany agreem enttoactasan informeroraspecialagentofalaw enforcem entagencywithoutthe
          perm lsslon ofthe court;and

          asdirectedbytheprpbation officer,thsdefendantshallnotifythirdpartiesofrisksthatm aybeoccaëionedbythedefendant'scriminal
          recordorpersonalhlstory prcharactepsticsandshallperm ittheprobation officerto makesuchnotlticationsandtoconfirm the
          defendanfscom pliance wlth such notlfication requirem ent.
           Case 2:12-cr-00007-JPJ-PMS Document 9 Filed 06/25/12 Page 4 of 6 Pageid#: 38
 AO 2458     (Rev.9/11-VAW Additi
                                ons6/05)JudgmentinaCrlmi
                                                       nalCase
             Sheet3(2-Supervised Relemse
                                                                                              Judgment-page   4   of   6
 DEFEN DAN T:     AN TON IO CARL JOH NSON
 CA SE N UM BER :DVAW 212CR000007-001

                                       SPECIAL CO NDITIONS O F SUPERVISIO N
W hileon supervised release,the defendant:

(l)Mustpayanymonetarypenaltythatisimposedbythisjudgmentinthemannerdirectedbythecourt;
(2)M ust resideinaresidencefreeoftirealnns,ammunition,destructivedevices,and dangerousweapons;and
(3) submittowarrantlesssearch andseizureofpersonandpropertyasdirectedbytheprobationofficerorotherlaw enforcementofficer,
wheneversuch officerbasreasonable suspicion thatthedefendantisengaged in crim inalactivity.
          Case 2:12-cr-00007-JPJ-PMS Document 9 Filed 06/25/12 Page 5 of 6 Pageid#: 39
AO 2458    (Rev.9/11-VAW Additions6/05)JudgmentinaCriminalCase
           Sheet5 -CriminalM onetary Penalties
                                                                                          Judgm ent-Page         5     of        6
D EFEN DA NT :    ANTONIO CA RL JOHN SON
CA SE N U M BER: DVAW 212CR000007-001
                                            C R IM IN A L M O N E TA R Y PE N A LT IE S
    Thedefendantmustpaythetotalcrim inalmonetarypenaltiesunderthescheduleofpaym entson Sheet6.

                     Assessm ent                                  Fine                            R estitution
 TO TALS          5 100.00                                   $                                $


     Thedetermination ofrestitution isdeferreduntil              .AnAmendedludgmentin a CriminalCase(AO 245C)willbeentered
     ahersuch determ ination.

 Z Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
     lfthe defendantm akesapartialpayment,each payeeshallreceivean approxim ately proportioned paym ent,unlessspecitied otherwise
     in thepriorityorderorpercentagepaymentcolumn below.However,pursuantto 18U.S.C j366441),alInonfederalvictimsmustbe
     paid before theUnited Statesispaid.
 Nam e ofPavee                                        TotalLoss*              Restitution O rdered               Priorit'
                                                                                                                        v or PercentaEe




 TO TALS                                                           $0.00                              $0.00


 FR Restitutionamountorderedpursuanttopleaagreement$
 r-1 Thedefendantmustpay interestonrestitutionandafineofmorethan$2,500,unlesstherestitution orGneispaidinfullbeforethe
     fifteenthdayafterthedateofthejudgment,pursuantto12U.S.C.j3612(9.AllofthepaymentoptionsonSheet6maybesubject
     topenaltiesfordelinquencyanddefault,pursuantto 18U.S.C.j3612(g).
 1
 -1 Thecourtdetermined thatthedefendantdoesnothavetheabilitytopay interestanditisorderedthat:
         theinterestrequirementiswaivedforthe 1-1 fine EZ restitution.
      I
      --I theinterestrequirementfortbe (71 fine EEIrestitutionismodifiedasfollows:


 *FindingsforthetotalamountoflossesarerequiredunderChaptersl09A,1l0,ll0A,and 1l3A ofTitle 18foroffensescom mittedon
 orafterSeptember13,1994,butbeforeApril13,1996.
        Case 2:12-cr-00007-JPJ-PMS Document 9 Filed 06/25/12 Page 6 of 6 Pageid#: 40
          (Rev.9/ll-VAW Additi
                             ons6/05)JudgmentinaCriminalCase
          Sheet6 -ScheduleofPaym ents
                                                                                                Judgm ent-Page     6     of      6
D EFEN D AN T:  ANTON IO CARL JOHNSON
CA SE N UM BER:DVAW 212CR000007-001
                                               SC H ED U LE O F PA Y M EN TS
H aving assessed thedefendant'sability to pay,the totalcrim inalm onetary penaltiesare due im mediately and payable asfollows:

     K Lumpsum paymentof$ l00.00                        immediately,balancepayable
          EEI notIaterthan                     ,or
          I
          ZI inaccordanceEEIc, EElD, E1E, EEIFor, Z G below);or
B Z Paymenttobeginimmediately(maybecombinedwith EEIc, EEID, EEIF,or Z Gbelow);or
  EEl Paymentinequal             (e.g.,weekly,monthly,quarterly)installmentsof$ overaperiodof
                       (e.g.,monthsoryears),tocommence                   (e.g.,30or60days)afterthedateofthisjudgment'
                                                                                                                    ,or
D    I-I Paymentinequal                  (e.g.,weekly,monthly,quarterly)installmentsof$                   overaperiodof
                    (e.g.,monthsoryears),tocommence                  (e.g.,30or60days)afterreleasefrom imprisonmenttoa
          term ofsupervision'
                            ,or
E    r-I Paymentduringtheterm ofsupervisedreleasewillcommencewithin                          (e.g.,30or60days)afterreleasefrom
          im prisonment.Thecourtwillsetthepaym entplanbased on anassessmentofthedefendant'sabilitytopay atthattime;or
F    N Duringtheterm ofimprisonment,paymentin equal                (e.g..weeklv,monthly,quarterly)installmentsof
       $               ,or       % ofthedefendant'sincome,whicheverisgreatel,tocommence                      (e.g.,30 or
       60days)afterthedateofthisjudgment',A'
                                           ND paymentinequal                   (e.g.,weekly,monthly,quarterly)
       installmentsof$              duringthetenu ofsupervisedrelease,to commence                  (e.g.,30or60days)
         afterreleasefrom imprisonm ent.
G EEI Specialinstructionsregardingthepaymentofcriminalmonetarypenalties:


Any installmentscheduleshallnotprecludeenforcementoftherestitutionorfineorderbytheUnitedStatesunder13U.S.C jj3613and
3664(m).
A nyinstallmentscpeduleissubjecttoadjustmentbythecourtatanytimeduringtheperiodofipp
defendantshallpotlfytheprobationofficerandtheU.S.Attorneyofanychangeinthedefendant'
                                                                                    risonmrntMrsupervision,andthe
                                                                                  seconomicclrcumstancesthatmay affectthe
defendant'sabillty to pay.
Al1crim inalm onetary penaltiesshallbem adepayabletotheClerk,U.S.D istrictCourt,P.O.Box 1234,Roanoke,Virginia24006,for
disbursement.
 ThedefendantshallreceivecreditforalIpaym entspreviouslym adetow ardanycrim inalmonetary penaltiesimposed.
Z JointandSeveral
     DefendantandCo-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmount,JointandSeveralAmount,
     and corresponding payee,ifappropriate.




I--I Thedefendantshallpaythecostofprosecution.
Z Thedefendantshallpaythefollowingcourtcostts):
Z Thedefendantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnitedStates:


 Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,(4)fineprincipal,
 (5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostofprosecutionandcourtcosts.
